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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA
  IN RE PHILIPS RECALLED CPAP, BI-                 )     Master Docket No. 2:21-MC-1230
  LEVEL PAP, AND MECHANICAL                        )
  VENTILATOR PRODUCTS LITIGATION                   )     MDL No. 3014
                                                   )
  This Document Relates to:                        )     Judge Joy Flowers Conti
  All Personal Injury Cases                        )

   JOINT MOTION TO ENTER PRESERVATION ORDER APPLICABLE TO OTHER
                         RECALLED DEVICES
       Plaintiffs’ Co-Lead Counsel, Defendants Philips RS North America LLC f/k/a Respironics,

Inc., Koninklijke Philips N.V., Philips North America LLC, Philips Holding USA, Inc., and Philips

RS North America Holding Corporation (collectively, the “Parties”), jointly submit this [Proposed]

Preservation Order Applicable to Other Recalled Devices for approval and entry by the Court.

       WHEREFORE, the Parties respectfully request that the Court enter the attached Order.


  Dated: February 22, 2024                                Respectfully submitted,

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